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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  ROBERT L. CLARK,

                        Petitioner,

  v.                                                 Civil Action No. 5:05CV147
                                                     Criminal Action No. 5:04CR9-09
  UNITED STATES OF AMERICA,                          (JUDGE STAMP)

                        Respondent.

         REPORT AND RECOMMENDATION THAT PETITONER’S MOTION TO
           WITHDRAW PETITION TO VACATE SENTENCE PURSUANT TO
                        28 U.S.C. § 2255 BE GRANTED

         Counsel was appointed for Petitioner for the evidentiary hearing scheduled on July 24,

  2007. After consultation with counsel, Petitioner moved to withdraw his petition in this matter.

  I find Petitioner has made a knowing, voluntary and intelligent decision after consultation with

  counsel and recommend his Motion to Withdraw His § 2255 Motion be granted.

         Any party who appears pro se and any counsel of record, as applicable, may, within ten

  (10) days from the date of this Report and Recommendation, file with the Clerk of the Court an

  original and two (2) copies of the written objections identifying the portions of the Report and

  Recommendation to which objection is made, and the basis for such objection. Failure to timely

  file objections to the Report and Recommendation set forth above will result in waiver of the

  right to appeal from a judgment of this Court based upon such Report and Recommendation.

         The Clerk of the Court is directed to provide a copy of this Report and Recommendation

  to parties who appear pro se and all counsel of record, as applicable, as provided in the

  Administrative Procedures for Electronic Case Filing in the United States District Court for the

  Northern District of West Virginia.




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        DATED: July 26, 2007



                                            /s/ James E. Seibert
                                            JAMES E. SEIBERT
                                            UNITED STATES MAGISTRATE JUDGE




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